
853 N.E.2d 1230 (2006)
304 Ill.Dec. 864
PEOPLE STATE OF ILLINOIS, petitioner,
v.
Russell E. ANDREWS, respondent.
No. 98532.
Supreme Court of Illinois.
September 27, 2006.
Petition for leave to appeal denied.
In the exercise of this court's supervisory authority, the Appellate Court, Third District, is directed to vacate its judgment in People v. Andrews, case No. 3-02-0569 (4/27/04). The appellate court is directed to reconsider its judgment in light of Illinois v. Caballes, 543 U.S. 405, 125 S.Ct. 834, 160 L.Ed.2d 842 (2005), and People v. Caballes, 221 Ill.2d 282, 303 Ill.Dec. 128, 851 N.E.2d 26 (2006) (opinion on remand), to determine if a different result is warranted.
